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       U N IT E D ST A T E S D IST R IC T C O U R T
      SO U T H E R N D IST R IC T O F F L O R ID A
                                        15cv62465-Dimitrouleas/Snow
                  C A SE N O .:                                           ï7
                                                                          '
                                                                          ':--
                                                                          k. .!-,.:




                                                                      .   '      .


                                                                      LL;3)-?
  STEV EN FR AN K LY N H ELFAN D ,                                    .

                                                                          :-V/'
                                                  CO M PLM N T FO k
                                                  D A M A G E S;and D EM A N D
                                                  FO R JU R Y TR IA L
        Plaint?



              1W .




  TR AV ELER S C O M M ERCIA L IN SU M N CE C O M PA W ,




        Defendant.




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        COM ES NOW ,Plaintiff,Steven FranklynHelfand (hereafterttl-
                                                                  lelfand''l,l

  by and through him self,inpropriapersona,and suesD efendant,Travelers

  CommerciallnsuranceCompany ghereaftertt-l-ravelers''j. Helfand statesas
  follow s.
          .

                                    1. PA R TIES

  A.    The Plaintiff

              l. H elfand isa residentand citizen ofthe state ofFlorida.

  B.    The D efendant

              2. Travelers is a cop oration organized underthe law s ofthe state of

        C onnecticutw ith a principalplace ofbusiness in the state ofC onnecticut.

                              ll.    JU R ISD IC TIO N

              3.ThisCourthasdiversityjurisdiction overthe subjectmatterofthis
        Complaintpursuantto 28U.S.C section 1332(a).Helfand isaresidentand
        citizen ofFlorida and Travelersisa Connecticutcorporation w ith its

        principalplaces ofbusiness in the state ofConnecticut. The am ountin

        controversy,w ithoutinterestand costs,exceedsthe sum or value specified

        by 28U.S.C.section l332(d)(2).
                                    111. V EN U E



  1Helfand isam em berin good standing ofthe State BarofCalifornia.

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              4.Venueisproperin thisjudicialdistrictpursuantto28U.S.C.
        sections1391(a);l391(b)and 1391(c).A substantialpartoftheeventsor
        om issions giving rise to H elfand's claim s occurred in this D istrict,and a

        substantialpartofthepropertythatisthesubjectoftheaction issituated in
        this D istrict. Travelersalso routinely conducts business in this D istrict.

              lV . ALLEGA TIO N S CO M M ON TO ALL CO UNTS

        A.     Introduction

                  Travelersw rongfully denied H elfand'sinsurance claim after

        Travelersfailed to properly consider the im plications ofthe endorsem ent

        styled HO-61B (10-06)gthettvaluableltem sPlus''endorsementl. Nearly
        forty-five days after the claim occurred,Travelers claim ed notto have

        know n thatH elfand's claim involved item s ofantiques,valuable furnishings,

        lithographsor anything else w ithin the so-called ttFine A rts''category ofthe

        applicable Gûv aluable ltem sPlus''endorsem entin spite ofsending tw o tield

        adjustersto exam inethelosslocation,allegedly possessing thirty
        photographs ofthe losses and having an environm entalhygienistconducta

        içlim ited wildtire''assessm entto determ ine thepresence ofsm oke dam age.

        B.    Exhibitsto the C om plaint




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               6. A ttached asE xhibitA is a true and correctcopy ofthe so-called

        tr eclarations Page''forthe contractofinsurance betw een H elfand and

        Travelers. H elfand's applicable policy num berconcerning this action is:

        994503528 631 1. H elfand's claim num berw as:14X F4294.

               7. A ttached as ExhibitB is a true and correctcopy ofthe so-called

        Eillomeowners-ContentsBroadForm HO-4 (10-06)''forthecontractof
        insurance Betw een H elfand and Travelers.

               8. A ttached as ExhibitC isa true and correctcopyz ofthe so-called

        ççEnhanced HomePackage110-84 CA (06-09)9'endorsem entforthecontract
        of insurance betw een H elfand and Travelers.

               9. Attached asExhibitD isa tnle and correctcopy ofthe so-called

        ttvaluableItem sPlusHO-61-B (10-06)5'endorsementforthecontractof
        insurance betw een H elfand and Travelers.

               10. A ttached as Exhiblt E isa true and correctcopy ofthe so-called

        tçl-im itedFireParticulateAssessm entReport''(hereafterûtRepolf'lissuedon

        October27,2015by Clark SeifClark,Inc ghereafterûtclark'j.Onpage 1of
        the Clark R eportitis clarified thatitis,in fact,a ttlim ited w ildfire sm oke

        aSSCSSDACn t.''



  2H elfand hand-w rote the claim num ber,ttH X F4294,''on the top ofExhibitC .

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                   A ttached as Exhibit F is a tnle and correctcopy ofa supplem ent

        to ExhibitE on O ctober 29,2015 by Clark.

              12. A ttached as ExhibitG isa true and correctcopy ofa letter

        denyingHelfand'sclaim from TravelersdatedNovemberl3,2015 ghereafter

        thettDenialLetter-''j
              l3.A ttached asE xhibitH is a true and correctcopy ofphotographs

        H elfand subm itted to Travelersdocum enting the loss.

              l4. A ttached as Exhibitl is a com pendium ofcorrespondence

        betw een Travelersand H elfand concerning the loss. E xhibitI ispaginated

        çiEx 1,   ''w hen referencing specific com m unications incorporated therein.

              15. A ttached as Exhibit J are photographs ofH elfand'sbuilding in

        dow ntow n San Francisco,the building's proxim ity to dow ntow n and a tloor

        plan ofH elfand's unitso as to provide context.

              16. A ttached as Exhibit K is a true and correctcopy ofthe civil

        rem edy notice served on Travelersby H elfand.

        C.    T he L oss L ocation

              l7. H elfand's residence atthe tim e w as a rented,studio apartm ent

        located in a m odern,high-rise building betw een M arketStreetand M ission

        Streetin theV an N essCorridor/South ofM arketarea ofdowntown San



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        Francisco,California. See,generally,E xhibitJ. H elfand'sunitw as on the

        eighteenthtloorandwasadjacenttothreebuildingsundergoing
        construction. 1d. lthad a so-called GT rench B alcony''w ith large exterior

        doors w hich typically rem ained open in lightofthe factthe building did not

        have air-conditioning nor any w indow s w hich could provide ventilation. 1d.;

        (apictureofthebalconydoorin relationtothestudio isdepicted atExhibit

        E,p.13 Eseephotonumbers1and2q.Helfand'sunitwaslushly furnished

        withvaluableantiques,objectsofart,etc.See,generally,ExhibitH

        gshowing tinefum ishingsand objectsofartdamagedinthelossq.
        D.    H elfand m oves to Florida after being devastated by the Ioss

              18. On O ctober22,2015 and after the date ofloss,H elfand m oved

        from San Francisco,California to Hollywood,Florida and took m ostofthe

        property w ith him save for a handfulofitem s. H elfand pre-cleared his

        m ove to Florida w ith Travelers in advance. Travelers authorized H elfand's

        moveandindicatedtheclaim wouldthenbereassignedtoFloridaadjusters

        asthesubjectproperty,personalcontents,and Helfandwouldnow bein
        Florida. H elfand w asenthusiastic aboutTravelers'agreem entto reassign

        the claim in lightofa hostof shortcom ingsw ith Travelers'assigned claim s

        handlers.



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        E.    Helfand sufferspersonalinjuriesfrom theloss
              l9. H elfand advised Travelers thatH elfand's health w as rapidly

        deteriorating im m ediately post-loss;H elfand w as suffering from headaches,

        dizziness,nausea,vom iting,skin rashes,canker sores and nightsw eats.

        H elfand requested thatthe contentsbe professionally cleaned eitheronsite or

        offsite to am eliorate the physicalailm ents. H elfand indicated he w ould

        continue to reside in hisapartm entin San Francisco,California w ith the

        contents(assum ingboththeunitand contentswereprofessionally cleaned)
        and/orw ould be w illing to store his property locally ifTravelers did not

        wantthem oveto go forward atthattime.Travelersexpressedno objection
        to H elfand'sm ove. H elfand could notafford to tem porarily relocate w ithin

        San Francisco and Travelersw as unw illing to provide any assistance atany

        tim e. W hen H elfand advised Travelers thatre-location assistance w as

        requested,Travelers stated thatH elfand w ould have to w aituntilTravelers

        m ade a coverage determ ination.

        F.    H elfand m oved to H ollyw ood.Florida and is residing w ith his

        parents as H elfand attem pts to recover physically,m entally,em otionally

        and financially from the Ioss.




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              20. H elfand w as grow ing increasingly w eary ofTravelers'

        ever-changing plethora ofgroundless and incom prehensible explanations

        and delays thatw ere rem iniscentofTravelers botched handling ofan earlier

        substantialclaim H elfand m ade in approxim ately 2008 w hich ultim ately

        settled atpolicy lim its. H elfand specifically raised the issue ofrelocation in

        the contextofan im properdenialin lightofhis fam iliarity w ith the

        possibility occasioned by pastchallengesw hen dealing w ith Travelers. John

        W .Camp,theassigned,so-called için-house''claim sadjusterforTravelers
        (hereafterEtcamp''lstatedthatTravelerswould nothaveany objection to
        any civillegalm attersoriginating from Florida as,according to Cam p,çtit

        w ould m ake no difference asTravelers is a nationw ide com panyo'' A s such,

        Travelers advised H elfand thathe could m ove w ith no im pacton the claim .

        M oreover,Travelersagreed the location ofany necessary,subsequentcivil

        actionts)wouldbeFloridain theeventHelfandrequiredcivillegalremedies.
        H elfand and Travelers also discussed how repairs likely w ould be farless

        expensive in Florida than in San Francisco and Travelersw as am enable to

        this conceptand agreed to itfully. ln reliance on Travelers'prom ises on this

        subjectHelfandwentforwardwith hisrelocation.lndeed,in onecallwith
        Travelers,H elfand confirm ed his Florida addressw ith Travelers. Travelers



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        furtherindicatedthatthisisiiwhere(itjwouldbesending thecheck''and
        continned thatthe V aluable Item s Plus endorsem entw asdispositive to the

        claim in Helfand'sfavor. Thiswasevidently short-lived and Travelers

        reversed course w ith no explanation asto sending the prom ised check. In

        the m eantim e,Travelersneveronce claim ed thatthere w asno direct

        physicaldam age. H elfand w asrelying on the prom ised paym entto

        com m ence needed repairsand m ove on w ith his life and these factsw ere

        com m unicated to Travelers by H elfand. M any ofTravelers'false

        representations w ere directed afterH elfand m oved and becam e a citizen and

        residentof Florida. H elfand also discussed a variety ofotherm atters as

        discussed infra.
        G.    A ny sort ofGw ildlire''assessm entw as im plausible especially in

        lightofthe factH elfand's loss appeared to have been caused by

        construction particulates or a building flre.

              2 l. Contrary to the pum orted basisofTravelers'denial,H elfand had

        never claim ed w ildfire sm oke entered his form er apartm entunitatany tim e.

        This iscontirm ed in the environm entalreportw herein itcorrectly states:

        H elfand ttreportsthatthe property w as affected by particulates from

        construction or a fire ata nearby building.'' See,E xhibitE ,p.5.



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        Environm entaldust,chem icalpollutants and/orconstruction particulates are,

        in fact,covered under Fine A rts and V aluable Item sPlus endorsem ent. See,

        generally,ExhibitD .

        H. Helfand'sIosswasnotsubjectto any exclusion.
              22. The loss w as notttw earand tear,'' ttdeterioration,''or ttinherent

        vice.'' 1d. N o otherexclusions applied. ln oralconversations,Travelers did

        notassertthatan applicable Fine A rts'orV aluable ltem sPlus exclusion

        applied; rather,there w as no direct,physicalloss. These unsupported

        claim sby Travelers w ere squarely atoddsw ith com pelling evidence to the

        contrary.Compare,ExhibitG gDenialLetterofNovember13,2015)and

        ExhibitH gpicturesshowing damagesj.Travelers'baselessassertions,
        including thatthere w asno dam age orthatinapplicable exclusions

        som ehow ,w ithoutever explaining how orw hy,applied w ere provably false

        and w ithoutfoundation.

              23.N otw ithstanding actualfacts,the environm entalreportdisclaim ed

        itw asm erely,çûa lim ited w ildfire sm oke assessm ent.'' ExhibitE ,p.1.

        M oreover,thettmain objectiveofthisinvestigation wasto determinethe
        presence orabsenceand concentration ofparticulatesincluding soot,ash,

        charand bunzed debristhatcan beassociated w ith fires.''1d. H ow ever,



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        Travelers failed to addressparticulates from construction oreven a chem ical

        based fire from a nearby building.The ççlim ited w ildfire'' assessm entw as

        inadequate fora hostofreasons thatseem ed obvious,including,for

        exam ple,thatitfailed to detectthe presence ofhairor skin fragm entsin an

        apartm entH elfand had lived in fornearly seven m onths priorto the test.

        See,generally,E xhibitE . This suggested the results ofeven the

        inapplicable testw ere skew ed by the successH elfand had in cleaning

        certain areas im plicated by the loss. The docum entable dam age included

        discoloration ofthe aniline sofa causing itto t'urn greenish/brow n in certain

        areas thatw ere heavily laden w ith particulates,discoloration and tlaking to

        polychrom e and discoloration and lossesto the gilding on a variety ofother

        objectsand antiques,etc.Theparticulatesalso destroyedthefinish on
        H elfand's dresser.

              24. Sim ply put,the erroneousdenialof H elfand'splainly covered

        claim cannotbesquaredwith prior statementsby Travelerson key subject
        m atter. A ctualfacts,the w ritten environm entalreport,and countless

        picturesofthe item sconfirming directand substantial physicallossto

        covered property dem onstrate H elfand's claim should have been covered.

        The claim ed basis for denial,to w it.,alleged butfoundationless lack of



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         direct,physicallossignores orglosses overthe actualobservable lossesand

         m akes no sense. See,generally,ExhibitH ;E xhibit1. The othertheories

         contained w ithin Travelers'denialletterw ere unfounded and m ade no sense.

         See,c.g.,Exhibit1,pp.5-17,
                                  .Exhibit 1,pp.24-27.

      1. T ravelersallbut conceded it had no evidence the dam age w as anything

      other than directly caused by H elfand's claim ed Ioss.

               25. Travelers offered constantly evolving positions on a hostof

         cliticalsubjectsincluding,interalia,damagesand coveragethatithad
        previously conceded w ere,m oot,inapplicable orotherwise tirm ly

         established. Tow ardsthe conclusion ofthe claim and in spite ofattem pting

        to w ork w ith Travelers in good faith,H elfand cam e to the conclusion he

        could no longerrely on Travelers'oralrepresentationsonany subjectand
        any future com m unications w ould need to be w ritten. See,c.g.,Exhibit 1,p.

             A 1lalong,H elfand offered to supplem entinform ation butTravelerstold

        H elfand notto botherbecause directdam age to the property w as confirm ed

        and accepted although costofrepairs w ould be open;the only pertinentitem

        ofconsideration w as w hetheran exclusion precluded coverage. H ow ever,

        unbeknownstto Helfand,Travelersm isfocused on the wrong exclusions.

        See,c.g.,Exhibit1,p.16-17. This isconfirm ed by Travelers'non-inclusion



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         ofthe V aluable Item s Plus endorsem entin Travelers'O ctober29,2015

         em ailto H elfand. 1d. H elfand asked Travelersto send H elfand allpertinent

         docum entspertaining to Travelers'tentative denialthatw as com m unicated

         orally to H elfand. 1d. Travelers'failure to com m unicate the V aluable Item s

         Plus endorsem entam ounted to concealm ent.

         J.    T he V aluable Item s Plus endorsem entshould have quiclkly

         resolved the claim based on stated and observed factsw ithoutthe

         attendant delay occasioned by Travelers. T ravelers'air testing for

         w ildlire contam inants w ellafter the tested areas had been cleaned w hile

         ignoring actualphysicaldam ages never m ade any sense.

               26. Fornearly one m onth H elfand could noteatin the apartm entand

         incurred additionalliving expense. H elfand w asreasonably afraid the

         contam inants w ere still presentsince he w as stillgetting i1lw henever

         spending any considerable tim e in the unit. H elfand w asparticularly

        vulnerable in lightofhism edicalcondition and explained this factto

        Travelers and Clark. Clark explained to H elfand thatClark w as m erely

        responsible forassessing wildfre contam inants;nothow those and other

        results w ould be applied to H elfand'sm edicalcondition asthis w as outside

        Clark'spurview . Helfand raised thisissuewith Cam p,w ho,prom ised to



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        retain another expertto properly interpretthe Clark R eportin lightof

        H elfand's m edicalcondition. Cam p ultim ately adm itted Travellers had not

        done so in spite ofits contrary representations and w as reneging on its prior

        com m itm entto do so. Thisstatem entby Cam p to hiretheexpertoccurred

        shortly before C lark inspected H elfand's unit. H elfand raised the issue

        repeatedly w ith Cam p thereafter. Postissuance ofthe report,Cam p refused

        to discussthesubjectand,wheneverHelfandraisedtheissue,Camp either
        hung up on H elfand or indicated Travelers w as stilldoing ongoing

        investigation. lndeed,Helfand specifically told both Travelersand Clark

        thathe w as having a valiety ofallergic reactionsthatw ere notpresent

        previously. Helfand furtherindicated hism edicalconditionswere now

        exacerbated considerably by the extem alparticulates from the loss. Y et,

        Travelers'refused H elfand'srequestto clean the debris orcontents,hire

        relevantexperts,pay reasonable advancesso H elfand could m ove to a

        differentlocation,and/or take prudentsteps consistentw ith m itigating

        Helfand'sinjuriesand losses.A11thisam ounted toabreach ofcontract,
        fraud,concealm ent,m isrepresentation and the intentionalintliction ofsevere

        em otionaldistress.




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              27. R atherthan dealw ith the challenges on a practicalleveland in

        good faith,Travelersw as non-responsive to H elfand. Travelers'em ployees

        m ockedHelfand,asdiscussed infra,accusedHelfand ofcausingtheloss,
        repeatedly hung up on H elfand w heneverhe asked a probing question and

        refused to com m unicate w ith any substance. A llthe w hile Travelers falsely

        represented to H elfand thatitneeded m ore tim e as itw aspreparing a

        substantiveresponseto Helfand'sconcerns. See,e.g.,Exhibit1,p.1(tt-
                                                                         l-his
        claim rem ains open because w e are currently in the processofreview ing and

        respondingtoyourquestionsinregardstoyourclaim .''j lnreality,Travelers
        failed to m eaningfully respond to a single question by H elfand. The w ritten

        record speaks for itself.

        K.    Travelers intentionally innicted severe em otionaldistress on

        H elfand

              28. Travelers,through its em ployee,C am p,m ocked H elfand's serious

        health conditions,calling him tlzree tim es overa truncated period oftim e and

        each tim e asking tçl-low are you?''and then laughing each tim e. This

        occurred,when Helfand had contacted Travelers,to reportthathewas

        becom ing seriously i11from the contam inantsand needed an em ergency

        advance so thathe could re-locate. lfCamp w asattem pting to m ake lightof



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        Helfand'scondition,theçjoke''felltlat.W hen Camp related theoraldenial

        oftheclaim ,Camp giggledrepeatedly asifthedenialwasajoke.Itsure
        w as! A s ifto underscore the point,w hen Cam p em ailed H elfand to transm it

        the denialletter,Cam p indicated ttrrhank you for choosing Travelers for

        your insurance needs. H ave a great dayl'' See,e.g.,Exhibit1,p.34-35.

              29. In the m eantim e,H elfand w as w aiting for the environm ental

        reportwhich Cam p had prom ised to tw sh''given Helfand'songoing

        physicalailm ents allofw hich arose post-loss.H elfand contacted Clark to

        try and getthe reportearlierand C lark revealed thatCam p had elected notto

        çtrush''itbecause this w ould entailextra expense. W hen H elfand contacted

        C am p to expresshis surprise thatthe C lark Report,had not,contrary to

        Camp'searlierstatem ents,been nlshed,Camp dism issed Helfand'sconcerns

        and indicated thatitw ould 'tcosttoo m uch m oney.'' H elfand had been 1ed to

        believe Travelers w astreating the m atterasurgent. H ow ever,the first

        indication to the contrary occurred priorto the hiring ofC lark. H elfand

        learned Travelers elected notto m ove forw ard w ith the original

        environm entaltesting service Cam p selected because thatservice had

        prom ised to conductfarm ore extensive and rigorous investigation than

        Clark after H elfand disclosed his concerns.



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        L.    The D enialL etter m isrepresents the particulatesw asm erely

        Kevery day (sic)dust.''whateverthisis.
              30. H oping to havea second look taken atthe wrongfuldenialof

        Helfand'sclaim,Helfand spokewith Peggy Stephens(hereaftertûstephens''j

        and KeithPearman ghereaftertûpearman''j,m anagementand supervisory
        em ployees forTravelers,respectively,on oraboutO ctober 30,2015 about

        the alleged basis ofdenial. Tellingly,Stephenshad no criticism ofthe

        substanceofHelfand'sdiscussion.Travelersdidnotobjectortake issue
        w ith any factor issue related by H elfand,including,inter alia,the

        shortcom ingsofthe investigation.N otwithstanding these facts,Stephens

        asserted the denialstillstood w ith no explanation. See,c.g.,Exhibit1,p.

        20.5 grefusing toshed any lightand stating merely çr urdecisionremains

        unchanged.''j Stephensdid nottakeissuewiththefactTravelersconsidered
        the w rong endorsem entor explain how orw hy this happened w hen

        Travelers,Cam p,Pearm an and Stephensw ere a1lpurportedly involved in

        this claim in som e m anner. Stephens could notexplain the presence of




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         dam agesand term inated the call.M any facts appeared to have been

         overlooked or w ere atoddsw ith the stated basis ofdenial.3

         M .   Stephens and T ravelers conceded that Travelers had no facts

         Justifyingtheim properdenialofHelfand'sclaim .
               31. Travelers'D enialLetter and itsinadequacy speaks for itself. See,

         c.g,E xhibitG ;Exhibit1,pp.24-28.A fter attem pting to explain w hathad

         occurred in detail,H elfand w as chastised by Stephensfortaking too long

         (aboutfiveminutesorso).Forno genuinereasonwhatsoever,Stephens
         then hung up on H elfand shortly afterH elfand asked w hether Travelers

         w ould subm itto policy appraisal. Stephens gave tw o inconsistentansw ers.

         Pearm an then stated tino,''presum ably because Travelers did notchallenge

         H elfand's stated value of dam ages w hile arguing there w as no ûtdirect,

         physicalloss.'' The callw as then term inated by Stephens m uch to H elfand's

         chagrin,w hile H elfand w as in m id-sentence.4


   3H elfand attem pted to contactthe Travelers'consum er affairs om budsm an w ho
   prom ised a ret'urn telephone callfrom a seniorm anagerbutw as never contacted by
   Travelers. W hen H elfand contacted consum eraffairs a second tim e,consum er
   affairs indicated thatthere w as nothing m ore itcould do.
   4Stephensalso criticized as ççexcessive''the four voicem ailm essagesH elfand left
   overa two day period,one ofw hich introduced Helfand and al1ofwhich sim ply
   requested the courtesy ofa ret'urlztelephone callgiven thisurgent situation
   w arranting im m ediate m anagem entattention. H elfand had m ade fourother
   telephone attem pts buthad notleftm essagesas notbe a bother.

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               32. R atherthan discuss specitics orthe substance ofthe Fine A rts or

         V aluable ltem sPlusendorsem entsor dam ages,Stephens criticized

        H elfand's alleged iitone,''w hateverthism eans. H elfand w as civiland

        professionalata11 tim esw hile Stephensw as rushed,dism issive and

         im patient. This w as unfortunate. Stephens'm isfocus on issues ofim agined

         tttone''w ere invented sim ply to avoid further oral com m unications.

         Travelers engaged in a pattern of diversion and concealm ent. Forexam ple,

        H elfand requested thatTravelersim m ediately em ailHelfand al1photographs

        Travelers purportedly relied upon show ing the purported absence of

        dam age. See,c.g.,generally,E xhibit 1. W hen H elfand offered to provide

        Travelers w ith an item ization of losses along w ith picm res and repair

        estim ates,Travelers declined,again indicating,asnoted supra,the coverage

        decision w as the sole focus and thatthe extentof dam agesw ould be

        determ ined later. The sam e w as true fora sw orn statem entofloss. These

         statem entsw ere m ade by Stephens and Cam p on oraboutO ctober 30,2015.

        The statem ents w ere fraudulentand designed to purposefully m islead

        H elfand. Travelers'approach wasfundam entally gawed and outright

        dishonestso asto create apretextualbasisfordenialofHelfand'sclaim .




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              33. ln response to H elfand's em ailsentshortly afterthe telephone call

        term inated and asking,ççifthere w as no directdam age how do you explain

        the sofa discoloration,''Stephensw rote:çtltw ould be im possible for m any

        ofus involved to reach a conclusion w ith respect to w hy your couch

        m ay have discoloration.M y know ledge is lim ited itcould be a num ber

        ofthingssuch as the sun,personalspill,etc.Thatw ould be w hy w e rely

        on experts.'' See,E xhibit1,p.l5.

              34. H ow ever,Travelers neverretained an expertto provide the

        know ledge asto how key aspects ofthe loss should be evaluated. ltw as

        plain thatStephensand Travelers had no candid explanation and identitied

        no facts and/or experts establishing the dam age w asnota direct,physical

        loss. M oreover,Stephens and Travelersw ere engaging in unfounded

        hypotheticalssincetherewasnospillagein spiteotlin essence,blam ing
        H elfand forthe loss. 1d. W hile aniline leatherm ay fade from the sun over a

        period oftim e itdoes notttlrn a chem ically, non-aniline-like greela/grey and

        brow nish. The aniline in certain areas felthardened. H ad Travelers

        genuinely studied the photographsTravelers claim s to have taken to show

        the inexistenceofdirect,physicalloss,Travelerswould have found am ple

        evidenceto the contrary.Theabsenceofparticulatesrelated to a fire did



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        notalterH elfand's coverage. Itdid notm odify the obligation ofTravelers to

        cover losses caused by,for exam ple,non-tire related particulates. The

        w ritten environm entalreportw as ofno genuine supportforTravelers

        coverage denial,as,itonly concluded there w asno discoloration caused by

        Etsoot.'' The Clark R eportcontirm ed discoloration butleR open the cause

        save forpresum ably w ildtire related particulates.

              35. Com pounding the inadequate investigation,Travelers did not

        retain,forexample,an upholstery,cleaningorantiquesexpertts).Even
        w orse,the testsam ple in the environm ental reportw astaken from a cleaned

        area ofthe sofa thathad notturned green. N either Stephens nor Travelers

        had any evidence to back up theirbaseless assertions and H elfand did not

        have to disprove a negative to obtain coverage.

              36. A sto,forexam ple claim ed ûtsun dam age''to the sofa,Stephens

        ignored,am ong other factors,thatdirectly behind the sofa w as the leather

        em bossed panelw hich served forpurposes ofprivacy and blocked the sun

        from hitting the sofa. Travelers im plicitly suggested H elfand w as

        m isrepresenting the origin and cause ofthe loss.

        N.    Travelers had instructed H elfand to clean the surfaces ofitem s

        given the health problem s H elfand w as suffering from the particulates.



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         H elfand also soughtto m itigate his dam ages given T ravelers'

        inattentiveness.

               37. Travelers confirm ed H elfand w asnotneglectfulor negligentin

         cleaning orm aintaining H elfand's contents. Travelers,in essence,soughtto

        benefitfrom ,for exam ple,H elfand's cleaning and the attendantdelay

        associated w ith the Travelers'm isconsideration ofw hatw ere inapplicable

        endorsem ents. Travelers soughtto use H elfand'sm itigation efforts to avoid

        covering the underlying dam age directly caused by the loss and thatbecam e

        plainly visible aftercleaning. Cleaning the debris and particles,of any

        origin,wasTravelersjob,notHelfand's.Helfand,nevertheless,attemptedto

        do so becausetheseobjectswerehistreasures.Travelerscontended,thatin
        lightof its lim ited know ledge,experts should guide any analysisand m ade

        this representation to H elfand. See,Exhibit1,p.15. Butifexperts w ere

        required,Travelers failed to retain m ore than the hygienistto do a lim ited

        w ildfire investigation and m isrepresented the scope of itsevaluation. H ad,

        for exam ple,the green discoloration been thoughtto have com e from the sun

        or spillage w hy not,forexam ple,retain an upholstery expert? W hy nottest

        the actualdam aged upholstery?W hy noteven photograph itorask questions

        before issuingthedenial? lnstead,Travelerssubstituted conjecturefor


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         actualfacts,hypotheticals unsupported by analysis forpersuasive contrary

         evidence,and suggested H elfand w asis,in essence,lessthan forthrightor

         caused the dam age him self.

         0.    T ravelers failed to consider the proper endorsem ent. T ravelers

         orally com m unicated H elfand's claim w as denied due to an inapplicable

         exclusion and notthe absence ofdirect,physicalloss. lnexplicably,in

         spite ofacknow ledging this error,Travelers nevertheless relied on

         im proper endorsem ents in form ally denying H elfand's claim on

         N ovem ber 13,2015.

               38. The continued,m isplaced rote reliance on erroneous and easily

        refutable basis for denialm ade no sense. The Fine A rts and V aluable ltem s

         Pluscoverage w as only realized by H elfand after H elfand obtained a full

         copy ofthe policy from H elfand's independentagent,G eico. Travelers'had

        refused the repeated requests by H elfand to provide a certitied copy ofthe

        policy and al1endorsem ents. lnitially,H elfand w asrelying on Travelers'

        representations,as to the scope ofcoverage,and Travelers'representations

        turned outto have been false. See,c.g.,Exhibit1,p.l7. ln doing so,

        Travelersfailed to send Helfand a certified ortheçtv aluable Item sPlus''

        endorsem ent,so asto attem ptto im properly rely on incom plete m aterials



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         and m isrepresentapplicable coverages to H elfand. Foroverforty days,

         Travelersfailed to considerthe correct endorsem ent,delayed paym entof

        benefits and soughtto find an exclusion thatTravelers should have know n

        w as m ootby w ay ofV aluable ltem sPlus endorsem entin its fraudulent

         course ofconductto rely on inapplicable endorsem ents. Travelers

         explanation thatTravelers did notknow the V aluable ltem sPlus

         endorsem entapplied m ade no sense under the circum stances and w as false.

        H ow ever,even w hen the m istake w asconceded by Cam p and Travelers,

        Travelers continued to ignore the endorsem entand refused to apply it.

        D uring prior conversationsw ith H elfand,Travelers conceded thatitdid not

        apply orconsiderthe im plications ofthe endorsem entbecause Travelers

        inexplicably failed to realize thatH elfand's claim involved item s of

        antiques,valuable furnishings,lithographsor anything else w ithin the tine

        artscategory.FineArtsaresubjecttothe$50,000 lim itation,butcontents
        protected pursuantto V aluable ltem sPlus is based on the fullam ountof

        contents protection,far in excess ofthisam ount. This w asnota m inorpoint

        to be sw eptunderthe carpet,asthe endorsem entprovided farbroader

        coverageto Helfand than Travelers1eton. So asto try and defeatcoverage

        by concealm ent,Travelers claim ed to possess 30 photographs show ing the



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        inexistence ofdam age.ButifTravelershad allthese photographsitw ould or

        should have know n thattine furnishing and valuable item s w ere involved in

        the clairn.

              39. ln sum ,Travelers conceded thatitfailed to take into accountthe

        V aluable Item s Plus endorsem entand this is confirm ed by Cam p's non

        transm ittalofthe endorsem entto H elfand w hile claim ing other

        endorsem ents controlled the outcom e. This assertion by Cam p w asfalse.

        M oreover,Travelers'tentative denialw as not based on lack ofdirect

        physicaldam age and Travelers changed its theory to counter anything

        presented,even by Travelers'utilization offraudulenttheoriesthatw ere

        erroneous and patently nonsensical. Travelers'fraudulentschem e w as

        intentionally calibratedto tryand conjureup any basis,howevergroundless,
        to try and defeatcoverage or altenm tively w earH elfand dow n into

        subm ission.

              40.Travelers assertion,through C am p,thatFine A rts only

        encom passed tihanging w allart''on or aboutO ctober 30,2015 w as

        erroneous and pum osefully false so as to stitle H elfand's valid claim .

        Travelersonly conceded the pointwhen Helfand read Camp the




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        endorsem entverbatim . C am p belatedly agreed the endorsem entapplied,but

        then,inexplicably failed to apply it.

              41. Even m ore inexplicable,w hen Travelersoutlined itstentative

        denialofthe claim ,itstated that som ehow ,atleastaccording to Travelers,

        denialofH elfand'sclaim w astied to paym entofan invoice on the

        environm entaltest. A fterbeing presented w ith the properendorsem ent,

        Travelers'then reversed course,claim ing the dam age to H elfand's property,

        Travelers had earlierconceded,som ehow did notoccur or w as caused by

        H elfand. Thisw as sleightofhand. If,for exam ple,Travelersexplanations

        fornotconsidering the correctendorsem entw ere genuine,how w as itthen

        possibleforTravelersto appraiseand adjustthelossifTravelersdidnot
        even know w hatthe item sw ere or w hatthey should even look like? The

        applicable endorsem entw as listed in the declarations page. The item sw ere

        allegedly depictedin thephotographsgincludingthoseprovidedby

        Helfandq,werethespecificsubjectofpriordiscussionsconcem ing
        investigation scope and expertretention and repair and w hetherthe

        hygienisttestscould dam age thew ood,gilding and/orpolychrom e.

        Travelersknew because Helfand told them . Thiswasnotnew inform ation

        learned atthe eleventh hourby Travelers.The sim plefactofthe m atteris



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        thatwhen Travelerssentafield adjuster,Jonathan Herr(hereafter&çHerr''q,to
        visitthe property H errcom m ented on the visible dam age caused to the

        gilded item s,the sofa,collection books,chairs,screen,m asks,etc. H err

        specifically told H elfand,am ong otherthings,the existence ofdirectdam age

        w asnotin dispute;ratherthe analysis depended upon w hetherthe cause of

        thedamagewasthe subjectofexclusion.Thiswasconsistentwith what
        Travelers said allalong untilitsham ly reversed course on the dubious

        groundsdiscussed herein. W hen,forinstance,H elfand show ed H em an

        artistic,paperm ask thatH elfand purchased in a gallely in R om e yearsago

        H errcom m ented ttthat'sa sham e''in referring to the loss and resultant

        dam age. For Travelersto then claim the loss did notoccur,orw as

        occasionedby ûtevery day (sic)dust,''wasoutrageousand despicable

        especially whenjuxtaposed withTravelers'om issions,actions,and
        fraudulentconduct.

        P.    Travelers states thatitintended to deny H elfand claim before

        T ravelers com pleted its ow n investigation.

              42. In spite ofTravelers adm itted incom pletion ofreview Travelers,

        stillthreatened to send H elfand the ûidenialw hen itis com pleted.'' See,c.g.,

        E xhibit1,p.30,
                      *E xhibit1,p.32.



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                             V.    C A U SE S O F A C TIO N

   A.    C O UN T I:BR EA CH O F C O N T R AC T

               43. Paragraphs 1 through 42,above,are incorporated herein.

               44. Travelers entered into a w ritten agreem entw ith H elfand,in w hich

         itagreed to insure againsta variety ofperils. See,Exhibits A ;B ;C and D .

               45. The w ritten contractand applicable endorsem ents are attached in

         aforem entioned exhibits atExhibits A ;B ;C and D .

               46. H elfand perform ed,or substantially perform ed/com plied,w ith all

   conditions and conditionsprecedent. H elfand,for exam ple,paid hisprem ium s as

   requested,m ade accurate representationsw hen he procured his insurance,tim ely

   tendered his insurance claim and cooperated w ith Travelers'investigation.

               47. Travelers m aterially breached the contractas follow s:

                         A .Itfailed to pay policy benefits ow ed to H elfand as a

         resultofa covered loss.

                        B .Itfailed to considerand apply the endorsem entstyled

         içv aluable ltem sPlus.'' lnstead,Travelersbased its denialon exclusionsthat

         w ere inapplicable,baselessor othelw ise m oot.




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                        C .Putting aside its failure to properly considerand apply

        the correctendorsem ent,Travelersfailed to apply the tçEnhanced H om e

        Package''1-10-84 (06-09)properly.
                        D .Even w hen the inapplicability ofrelied upon

        endorsem ents w asraised w ith Travelersboth orally and in w riting,itrefused

        to acknow ledge or address,m uch lessconsiderand apply,the proper

        endorsem ent.

                        E . Travelersrefused to agree to appraisalasprovided in

        Section 1condition ofthepolicyHO-4 (10-06),p.l3,paragraph7.
                            To the extentFine A rt's coverage is vague and

        am biguous coverage should have been determ ined in favorofH elfand by

        Travelers. For exam ple,itis,arguendo,vague asto w hetherthe only

        exclusionsw ith respectto those item scategorized as ttFine A rts''are those

        contained within HO-61-B (10-6)p.1 subdivision ttExclusions,''paragraph

        4.Thesubdivision ofthisendorsementstates:tçAsrespectsFineArts:(a)

        Lossresulting from any repairing,restorationorretouchingprocess;(b)Loss
        to property on exhibition atfairgrounds oron the prem ises ofany national

        orinternationalexhibition;(c)Thefirst$100 oflossduetobreakageofart
        glass w indow s,statuary,m arble,glassw are,bric-a-brac,porcelain and



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         sim ilar fragile articles,unless caused by tire,lightning,aircraft,theftand/or

         attem pted theft,cyclone,tornado,w indstorm ,earthquake,flood,explosion,

        m aliciousdamage,orcollision orovertul'nofconveyance;(d)Lossto
         cem etery property.'' W hen H elfand dem anded explanations as to the scope

        ofthe coverage,Travelers claim ed itw as ççresponding''to H elfand's queries

        butnever did w ith any m eaningfulspecifics. See,c.g.,E xhibit1,p.l.

                         G .Even ifthe exclusions atsubdivision,itExclusions,''

        Paragraphs 1,2,3,5,7 8,and 9''applied to tT ine A rts,''w hich they do not,

        Travelers w as stillobligated to cover the perilthatoccurred. See,V aluable

        ItemsPlusendorsement,subdivision tûExclusions,''p.2 (ûtSECTION I-

        EXCLUSIONS donotapply tothecoverageprovided inthisendorsement.''l
                         H .The N ovem ber 13,2015 D enialLetter states as follow s:

        çû-rhe State ofC alifom ia requiresusto provide the follow ing inform ation.

        (PjOurposition:Thisletterreflectsthecompany'stinalpositionregarding
        thisclaim . O ur decision is based upon the inform ation and docum entation

        w e received in connection w ith ourresearch ofthis claim . Ifyou are aw are

        of any new or differentinform ation thatm ightlead to us to reconsider our

        decision, please contactusim m ediately.''However,w hen H elfand did so to

        ascertain w hatspecific inform ation Travelers'purportedly relied upon,



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         Travelers w as coy and conclusory,unw illing to share inform ation so that

         H elfand could even ascertain w hatinform ation,w as considered orw eight

         glven.

                         1. W hile char,sootand ash w ere found to be in so-called

         ççbackground levels,''Travelers failed to square these levelsw ith H elfand's

         existing m edicalcondition thatw as disclosed to Travelers. E xhibitF .

         Travelers had prom ised to retain an expertto do so butthen failed to

         com portw ith thisrepresentation,prom ise and agreem ent.

               48. H elfand suffered dam ages,as a directand foreseeable

         consequence ofTravelers'm aterialbreach ofcontract,in an am ount

         according to proofattrial.

    B . C O U N T II: FM U D -C O N C EA LM EN T -M ISM PM SE N TA TIO N

               49. Paragraphs 1 through 42,above,are incorporated herein.

               50. Travelersm ade false statem entsconcem ing m aterialfacts or

   concealed such m aterialfactsand engaged in a pattern offraudulentconduct.

   These fraudulentactsw ere orchestrated so as to unreasonably delay and

   w rongfully deny coverage to H elfand. A ltem atively,Travelers soughtto crafta

  pretextualbasison w hich to unreasonably delay and wrongfully deny coverageto




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   H elfand.The allegations offraud and concealm entare retlected above butseveral

   are w orth highlighting'
                          .

                      A .E xhibit1,p.17.5. Em ailfrom Cam p to H elfand at 10:42

                         a.m .,O ctober29,2015: ttperyourrequest,please see your

                         attached policy and endorsem entw hich w ould apply to the

                         loss.'' Cam p attached E xhibits B and C . Cam p om itted and

                         concealed ExhibitD . Cam p m isrepresented the coverages

                         and exclusions and used thisto procure delay and denialto

                         H elfand's m aterialdetrim ent.

                      B .Exhibit1,p.15. Em ailfrom Stephensto H elfand at6:44

                         p.m .on O ctober 30,2015. éç-l-hatw ould be w hy w e rely on

                         experts.'' (discussing how Travelerswentaboutdetermining

                         spillageorsundamageq.However,Travelersneverretained
                         such experts. Travelers only had one retained expert,the

                         hygienistfrom Clark. The statem entw as crafted so as to

                         m islead H elfand into believing Travelers'investigation w as

                         farm ore com prehensive than itw asin actuality.

                      C.Exhibit1,p.1,Letterfrom Travelersand Cam p to H elfand

                         on Novem ber 12,2015. tt-rhisclaim rem ainsopen because



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                       w e are currently in the process ofreview ing and responding

                       to your questionsin regards to your claim .'' These

                       statem ents w ere false. The w ritten record contirm s

                       Travelersnever substantively responded to any of H elfand's

                       questions. By N ovem ber 12,2015,Travelers had already

                       com m unicated thatw as denying H elfand's claim . By no

                       m eansw asthe claim ttopen''and this w as crafted so asto

                       m islead H elfand.

                    D .Exhibit1,p.18,Em ailfrom Stephens to H elfand at 11:20

                       a.m .on N ovem ber l6,2015. ttTravelersposition has alw ays

                       been to look for coverage. W hile w e appreciate the theories

                       you have presented,based on the factsasw e know them ,

                       there isno coverage and ourdecision w illnotchange.'' If

                       Travelers statem entsw ere factual,Travelers w ould nothave

                       ignored E xhibitD . H elfand presented no theories.

                       Travelershad no facts thatittûknew .'' Travelers w as

                       concealing its lack ofinform ation to supporta pretextual

                       denialthrough fraudulentartifice to try and w ear H elfand




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                       dow n. Travelers,on the contrary,had am ple inform ation

                       from w hich to find coverage in favor ofH elfand early on.

                    E. E xhibit1,p.22,Em ailfrom Stephensto H elfand at 12:27

                       p.m .on N ovem ber 16,2015. EEW e have responded to you

                       repeatedly.'' This statem entw as false and this is

                       ascertainable m erely through review ofthe w ritten record.

                       N o substance w as everprovided. Travelers'purported

                       ççrCSPOnSCS55W ere çinOIITCSPOCISX C.''

                        Exhibit 1,p.22,Em ailfrom Stephens to H elfand at 12:27

                       p.m .on N ovem ber 16,2015.ttlam thatperson and lhave

                       review ed the facts ofyour claim thoroughly and feel

                       confidentin the outcom e reached.'' Stephens did notengage

                       in a thorough review and soughtto m islead H elfand as to the

                       true extentofthe review and/or concealits actuallim ited

                       SCOPC.

                    G .ExhibitG drafted by Cam p and sentto H elfand on

                       November13,2015 goneday afterTravelersindicatedthe
                       claim wasstillopen and itwasresponding to Helfand's

                       claim .q Theentiresecondparagraph isfalse.Helfand


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                       presented a claim foradditionalliving expense and the

                       cleaning ofhisunitin addition to contents. Second sentence

                       is false. H elfand never stated anything aboutan tûem ission.''

                       The C lark R eportcorrectly recounts w hatH elfand reported.

                       H elfand never stated ççsm oke or em ission''m ade its w ay into

                       H elfand's unit. The assertion thatTravelers'research found

                       thatdam agesw ith regard to sm oke and em issions could not

                       be confirm ed is false. The sm oke testing w as lim ited to a

                       w ildfire assessm ent. See,c.g.,Exhibit E ;F. C lark did not

                       testfor em issions and no other expertdid either. The

                       statementûtthey (referringtoClarkjhaveconfirmedthatthe

                       substanceinquestions(sic)isin fact(sic)every day (sic)
                       dustthatisfound in an everyday(sic)home''istotally false.
                       See,c.g.,E xhibits E,F,and 1,p.26. The statem entçisince

                       there is no directphysicallossto your personalproperty,

                       yourpolicy does notprovide coverage''isfalse. Compare,

                       E xhibit H . The D enialLetter conceals Exhibit D and the

                       applicable exclusions. Travelers m isrepresentsthe

                       applicable exclusions in E xhibit G . The statem entsfound at



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                          ExhibitG ,p.2,second paragraph are entirely false and

                          nonsensical. San Francisco public transportis for the m ost

                          partttzero-em issions''m aking the claim recounted both silly

                          and false;itdid notoccur. See,generally,E xhibit1,pp.

                          24-27 gl-
                                  lelfanddiscussing Travelers'various

                          misrepresentationscontainedwithinthedenialletterj.
                51.Travelersknew the statem ents itm ade w ere false w hen itm ade

   them orm ade the statem ents know ing itw asw ithoutknow ledge of itstruth or

   falsity. A ltem atively,Travelers w as obligated to disclose inform ation Travelers'

   im properly concealed and w ithheld.

                52. H elfand relied on the false statem ents oracted detrim entally in

   lightofTravelers'nondisclosure and concealm ent;and

                53.Helfand suffered loss,injury and/ordamageasaresult.
   C.    C O U N T 111:IN TE N TIO N A L IN FLIC TIO N O F SEV ER E

   E M O TIO N A L D ISTR ESS

                54. Paragraphs 19,20,25-29,30-42 above,are incorporated herein.

                55.Travelersconductproxim ately caused thedeliberate orreckless

         intliction ofm entalsuffering purposefully directed atH elfand.




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              56. Travelersconductw as so outrageous in character,and so extrem e

        in degree,as to go beyond a1lpossible bounds of decency,and to be

        regarded as atrocious,and utterly intolerable in a civilized com m unity.

              57. The conductcaused the em otionaldistress,and

              58.The em otionaldistressw as severe.

   D.   C O U N T IV :N EG LIG EN C E -PE R SO N A L IN JU R Y

              59. Paragraphs 19,26 29 and 30 are incorporated herein.

              60. Travelers had a duty orobligation,recognized by the law ,

        requiring itto conform to a certain standard ofconduct,forthe protection of

        H elfand againstunreasonable risks. These duties included,inter alia,those

        encom passed by E xhibitK ,those contained in E xhibits A ,B,C and D and

        those Travelers took upon itselfthrough its ow n representations;to w j/,

        w arranting to H elfand thatTravelers w ould perform certain specific tasks

        causingHelfandto actinjustifiablerelianceon such representations.
              61. Travelers'failed to conform to the standard required,i.e.,

        triggering a breach ofduty. In thisregard:

                        A .Travelers failed to pay policy benetits ow ed to H elfand

        asaresultofacovered loss.Travelersbreached itsinsurancecontractwith

        Helfand.ln so doing,Travelersoccasioned actualpersonalinjuriesto


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         H elfand related to orarising from the loss. Forinstance,Travelers w as

         obligated to clean or otherw ise cover H elfand's unitand contentsconsistent

         w ith E xhibits A ,B ,C and D . Concem ed abouthealth im plications,H elfand

         im m ediately disclosed his m edicalcondition to Cam p and indicated hisbody

         w ashighly vulnerable to contam inants. H elfand stated specifically to Cam p

         in hisfirstconversation thatw hen attem pting to clean certain surfaces,his

         handsw ere breaking outin rashes and he w as suffering from a variety of

         otherailm ents,including coughing and w heezing,im m ediately post-loss and

         nonexistentpriorto the loss. H elfand explained the particulates w ere

         com pounding his existing m edicalconditions. H elfand w as feeling

         physically illw henever H elfand spentconsiderable tim e in the unitpost-loss.

         Cam p dism issed H elfand's concernsand indicated the carrierw ould do

         nothing substantive for H elfand untilcoverage w as determ ined. Travelers

         and Cam p refused H elfand'srequestfor an advance. Travelers and Cam p

         refused H elfand'srequest,to,forexam ple,provide a professionalcleaning

         service orreim burse H elfand for cleaning supplies orcosts incurred.

                         B .The N ovem ber l3,2015 D enialLetter statesas follow s:

         tç-l-he State ofC alifom ia requiresusto provide the follow ing inform ation.

         (PjOurposition:Thisletterretlectsthecompany'sfinalposition regarding


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         thisclaim . O urdecision isbased upon the inform ation and docum entation

         w e received in connection w ith our research ofthis claim . Ifyou are aw are

         ofany new ordifferentinform ation thatm ightlead to usto reconsider our

         decision, please contactusim m ediately.'' H ow ever,w hen H elfand did so to

         ascertain whatspecific information Travelers'purportedly relied upon,

         Travelersw as coy and conclusory,unw illing to share or concealing

         inform ation Travelers,w as,in fact,obligated to share ordisclose. ln doing

         so,Travelers precluded H elfand from ascertaining w hatinform ation,if any,

         Travelersconsidered and the w eightapplied to such inform ation. This

         served to preventH elfand from m eaningfully evaluating the inform ation,

        particularly w ithin the contoursofpressing m edicalconcerns.

                         C .Travelers attem pted to rely on tçphantom ''evidence to try

         anddefeatcoveragea1lthewhilesubjecting Helfand toactualinjuriesand

        riskand/orincreasedrisk offuttlrepersonalinjuries.W hen querieswere
         directed to it,Travelersfailed and/orrefused to shed lighton its so-called

         ûtevidence''in any m eaningfulor non-conclusory fashion. Travelers sought

        to unreasonably delay and w rongfully deny H elfand'sclaim . Travelers then

         soughtto create evidence,that,in fact,did notexistto try and supportits

         im permissible denialofHelfand'sclaim ,even going so farasto suggestthat



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         Helfandcausedthedamage.See,c.g.,ExhibitF (failing toproperly square
         so-called ttbackground levels''w ith H elfand's stated m edicalcondition or

         ttaswas''condition beforelossj.Seealso,Exhibit1,generally (discussing

         how Stephenssoughttoblamespillagepresumably by Helfandj.
                         J. W hile char,sootand ash w ere found to be in so-called

         tçbackground levels''tested by Clark,Travelers failed to square these levels

         w ith H elfand's existing m edicalcondition. Travelers had prom ised H elfand

         thatitw ould retain a suitable expertto evaluate the C lark Reportw ithin the

         contours of H elfand'sm edicalcondition butthen reneged. Thisignored the

         factthatTravelers had agreed to do so and H elfand acted in detrim ental

        reliance on this agreem ent.

                         K .Travelers instructed H elfand to clean the property

        withoutknowingwhattheparticulateswereortherisksorinjuriessuch
        particulatesw ould cause to H elfand'shealth. See,e.g.,Paragraph 37 supra.

                         L .Travelers continued to m isrepresentthe Clark R eport.

        Travelers'claim thatparticulatesfoundamountto so-called ççevery day (sic)

        dust''inan tteveryday (sic),''whateverthismeans,isunsupported. See,c.g.,
        ExhibitG ;Compare,ExhibitE,F,and H . W hen Helfand queried

        Travelers from w here these erroneousconclusionsw ere draw n,Travelers



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         declined to answ er orengaged in diversion. Suffice itto say,neither

         conclusion is contained w ithin the Clark Reportorthe Supplem ent.

         Travelers'assertions appearto have been crafted so asto dow nplay

         Helfand'slossandpersonalinjuries.ln doing so,Travelerscompounded
         them .

               62. There w as a reasonably close causalconnection betw een the

         conductasserted hereandHelfand'sresultinginjury (proximatecauseand

         causein factl;and

               63.Helfand sufferedactualinjuries,lossand damage.
                             V I. PR A Y ER FO R R E LIEF

   W H E R EFO R E,H elfand prays:

     A.ThattheCourtadjudgeand decreethatTravelersbreached itscontractwith
        H elfand;

     B.ThattheCourtadjudgeand decreethatTravelerscomm itted fraud;
     C .ThatH elfand recover com pensatory dam ages;

     D .ThatH elfand recover incidentaldam ages;

     E. ThatH elfand recover consequentialdam ages;

     F. ThatH elfand recover statutory dam ages'
                                               ,

     G .ThatH elfand recoverpunitive dam ages;



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      H .Thatthe C ourtaw ards H elfand fees and costs as provided by law ;

         ThattheCourtawardHelfandprejudgmentandpostjudgmentinterestas
         perm itted by law ,and thatinterestbe aw arded atthe highestlegalrate from

         and afterthe date ofservice ofthe initialcom plaintin thisaction'
                                                                         ,and,

      J. Thatthe Courtaw ard Helfand such otherfurtherreliefasm ay be deem ed

         necessary and proper.

                              V 1I. JUR Y TR IA L D EM A N D

         Plaintiffhereby demandsajurytrialon a11issuesso triable.


   Respectfully subm itted,


                                                                / -,) :.
                                                                    M, .,-
                                                                         ,-,*A. .
                                                                       ,
                                                                            ,
                                                                      .--       '
   Dated:N ovem ber23,2015                                       ..
                                                                <..             ,,




                                          Steven Franklyn H elfand
                                          In propria persona
                                          1400 SW 137th A venue,A pt.F 112
                                          H ollyw ood,FL 33027
                                          Telephone: 415.397.0007
                                          Email:      sh4078@ gm ail.com




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